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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:24-CR-0025 TLN
11
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
12                                                       IN GOVERNMENT’S NOTICE
                            v.
13
     CAMERON POPE,
14
                                  Defendant.
15

16

17          Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s four-page supplement pertaining to

19 defendant Cameron Pope, and government’s Request to Seal shall be SEALED until further order of this

20 Court.

21          It is further ordered that access to the sealed documents shall be limited to the government and
22 counsel for the defendant.

23          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
24 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

25 the government’s request, sealing the government’s motion serves a compelling interest. The Court

26 further finds that, in the absence of closure, the compelling interests identified by the

27 government would be harmed. In light of the public filing of its request to seal, the Court further finds

28 that there are no additional alternatives to sealing the government’s motion that would adequately


      ORDER SEALING DOCUMENTS AS SET FORTH IN             1
      GOVERNMENT’S NOTICE
              Case 2:24-cr-00025-TLN Document 28 Filed 06/21/24 Page 2 of 2

 1 protect the compelling interests identified by the government.

 2

 3 Dated: June 20, 2024

 4
                                                                    Troy L. Nunley
 5                                                                  United States District Judge

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      ORDER SEALING DOCUMENTS AS SET FORTH IN          2
      GOVERNMENT’S NOTICE
